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     In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: June 4, 2018

* * * * * * *                   *   *    *    *   * *
VIRVEN WARREN,                                      *                    UNPUBLISHED
                                                    *
                  Petitioner,                       *                    No. 16-1645V
                                                    *
v.                                                  *                    Special Master Gowen
                                                    *
SECRETARY OF HEALTH                                 *                    Joint Stipulation; Influenza (“Flu”);
AND HUMAN SERVICES,                                 *                    Guillain-Barre Syndrome (“GBS”).
                                                    *
                  Respondent.                       *
*    * * *        * * * *           *    *    *   * *

Nancy Routh Meyers, Ward Black Law, Greensboro, NC, for petitioner.
Camille Michelle Collett, United States Department of Justice, Washington, DC, for respondent.

                                      DECISION ON STIPULATION1

       On December 14, 2016, Virven Warren (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 Petitioner alleged that he
suffered from Guillain-Barre Syndrome (“GBS”) as a result of an influenza vaccine administered
on or about March 23, 2016. Petition at Preamble; Stipulation at ¶ 4.

        On June 4, 2018, the parties filed a joint stipulation (“Stipulation”) in which they stated
that a decision should be entered awarding compensation to petitioner. ECF No. 39. Respondent
denies that the influenza immunization is the cause of petitioner’s alleged GBS or any other
injury or condition. Id. at ¶ 6.


1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this decision contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the decision
is posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed
redacted version of the decision.” Id. If neither party files a motion for redaction within 14 days, the decision
will be posted on the court’s website without any changes. Id.

2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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        Maintaining their above-stated positions, the parties nevertheless now agree that the
issues between them shall be settled and that a decision should be entered awarding
compensation to petitioner according to the terms of the joint stipulation attached hereto as
Appendix A.

         The joint stipulation awards:

         1) A lump sum of $110,000.00 in the form of a check payable to petitioner. This
            amount represents compensation for all damages that would be available under
            42 U.S.C. § 300aa-15(a).

      I find the stipulation reasonable and I adopt it as the decision of the Court in
awarding damages, on the terms set forth therein.

        Accordingly, the Clerk of the Court SHALL ENTER JUDGMENT in accordance with
the terms of the parties’ stipulation.3

         IT IS SO ORDERED.

                                                                s/Thomas L. Gowen
                                                                Thomas L. Gowen
                                                                Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice renouncing the
right to seek review.

                                                           2
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